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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE SOUTHERN DISTRICT OF ILLINOIS

 

Inre: Betty A. Corey, Case No. 20-40036
Debtor Chapter No. 7

Judge Laura K. Grandy

 

CERTIFICATION OF RYAN GALLOWAY IN SUPPORT OF ESTIMATED
ITEMIZATION OF WORK COMPLETED

L. Pursuant to the Court’s Order, I submit this certification in support of an
itemization of work performed by UpRight Law in this case to date.

Ze I am Associate General Counsel and Vice President of Legal Delivery with
Deighan Law LLC, and Illinois Limited Liability Company doing business as
UpRight Law LLC in the State of Illinois, a national consumer bankruptcy law
firm headquartered in Chicago, Illinois. I have personal knowledge of the
electronic record system used by UpRight Law.

3, I am an attorney licensed to practice law in Illinois.

4. I have personal knowledge of the facts set forth in this Certification or I have
obtained information about those facts from other UpRight Law staff and if called
to testify, I could competently testify to such facts.

5. The attached estimated itemization is a statement of work that was prepared based
on records from the electronic record system used by UpRight Law and the

records of UpRight Law partner James Ford relating to work in this case. See
10.

li,

12.

lS:

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Exhibit A. This was a flat fee case and therefore some of these itemizations
include estimates of time for some events.

The Attorney-Client Legal Services Agreement provides for a flat fee but that the
rate for additional services is $395.00 per hour for attorney time and $125.00 for
paraprofessional time.

James Ford is an UpRight Partner Attorney who has been licensed to practice law
in Illinois since November 3, 1978. He has a J.D. from Washington University
School of Law. Ha has a B.A. from Southern Illinois University — Carbondale.
Terrence Lake is a former intake professional for UpRight Law.

Jeffrey Philogene is an Associate Attorney at UpRight Law. He has a J.D. from
Charlotte School of Law. He has a B.A. from University of North Carolina -
Chapel Hill. He has been licensed to practice law in North Carolina since October
10, 2014.

John McComb is with Partner Relations. He has worked for UpRight Law since
August of 2018. He has a B.A. from the University of Illinois at Urbana-
Champaign. He served in the United States Marine Corps from 2013 until 2017.
Wayne Jackson in non-attorney staff member working in the Client Services
Group.

Patrick Early is a Partner Relations and Operations Manager for UpRight Law. Ha
has worked for UpRight Law since May of 2017. He has a B.A. from DePaul
University.

Marty Labelle is a non-attorney staff member working in the Client Services

Group.
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14. Tasha Hawkins is a member of the UpRight Law Client Services Administrative
Team. She has worked for UpRight Law since March of 2017. She has a B.A.
from Columbia College.

15. Sean Pidgeon is a Client Services Executive at UpRight Law. He has a B.A. from
Clark Atlanta University. He has an Integrated Marketing Certification from
DePaul University.

16. Margaret Doyle is a Partner Relations Manager at UpRight Law. She has worked
at UpRight since December of 2017. She has a B.A. from University of Dayton.

Li. Joseph Doombos is a Client Services Manager at UpRight Law. He has worked at
UpRight Law since March of 2014. He attended Columbia College.

18. David Engler is a Senior Client Consultant since June of 2016. He has B.A.in
Business Administration and Finance from the University of Iowa, 2016.

19. Rachel Williams is an Associate Attorney at UpRight Law. She has a J.D. from
Thomas M. Cooley Law School. She has a B.A. from Marquette University. She
has been licensed to practice law in Wisconsin since April 26, 2013.

20. The estimated value of services at applicable rates for this case is $4,808.00. The
total amount collected from Betty Corey was $1,150 for the attorney fee plus
$335 for the filing fee for a total of $1,485.00.

I certify under penalty of perjury that the foregoing is true and correct to the best of my
knowledge.

 
